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May 16, 2025

Sent via ECF

Hon. Sidney H. Stein
Daniel Patrick Moynihan
United States Courthouse
500 Pearl Street
New York, NY 10007-1312

RE:     In re OpenAI Copyright Litigation, 25-md-3143 (SHS) (OTW)

Dear Judge Stein:

Defendants Microsoft and OpenAI write to update the Court regarding the status of the Joint Case
Management Conference Statement (“CMC Statement”) due today, May 16, 2025. DE 14 (Case
Management Order No. 1) (“CMO 1”).
In CMO 1, the Court requested a pre-conference submission from the parties on multiple subjects,
including 9 questions in Part A regarding the organization of Plaintiffs’ counsel. In an effort to get
to a consensus on the leadership issues, Class Plaintiffs were not able to provide their proposal
regarding Part A until after the close of business at 6 p.m. ET on Friday, May 16. Microsoft’s
outside counsel team includes essential personnel on class issues who are unavailable this evening.
Accordingly, Defendants need additional time to analyze and respond to this new information, and
Plaintiffs do not object.
Defendants are working as quickly as possible to analyze and update their portions of the report.
We will work with Plaintiffs to file a complete joint CMC statement as quickly as practicable, and
in no event later than 12 noon ET on Monday, May 19.


Respectfully submitted,

/s/ Annette Hurst                              /s/ Paven Malhotra

Annette Hurst                                  Paven Malhotra
Counsel for Microsoft                          Counsel for OpenAI Defendants



/s/ Rachel Geman                               /s/ Davida Brook

Rachel Geman                                   Davida Brook
On behalf of Class Plaintiffs                  On behalf of News Plaintiffs
